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  7   Attorneys for Defendants Robert A. Bonta, Luis
      Lopez, and the California Department of Justice
  8
  9                    IN THE UNITED STATES DISTRICT COURT
 10                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      ENDIR BRISENO, NEIL OPDAHL-              2:21-cv-09018
 14   LOPEZ, AND RODNEY WILSON,
      INDIVIDUALLY AND ON BEHALF OF ALL      DEFENDANTS ROBERT A.
 15   OTHERS SIMILARLY SITUATED,             BONTA, LUIS LOPEZ, AND
                                             CALIFORNIA DEPARTMENT OF
 16                              Plaintiffs, JUSTICE’S REQUEST FOR
                                             JUDICIAL NOTICE IN SUPPORT
 17              v.                          OF MOTION TO DISMISS,
                                             ABSTAIN FROM HEARING,
 18   ROBERT A. BONTA, IN HIS OFFICIAL AND/OR STAY PLAINTIFFS’
      CAPACITY AS ATTORNEY GENERAL FOR COMPLAINT
 19   THE STATE OF CALIFORNIA; LUIS
      LOPEZ, IN HIS OFFICIAL CAPACITY AS
 20   ACTING CHIEF OF THE CALIFORNIA         Date:         February 28, 2022
      DEPARTMENT OF JUSTICE BUREAU OF        Time:         1:30 p.m.
 21   FIREARMS; CALIFORNIA                   Judge:        Hon. Otis D. Wright II
      DEPARTMENT OF JUSTICE; AND             Action Filed: November 17, 2021
 22   DOES 1-10,
 23                              Defendants.
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                                                        Request for Judicial Notice ISO Defendants’
                                                                  Motion (Case No. 2:21-cv-09018)
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  1                          REQUEST FOR JUDICIAL NOTICE
  2        Defendants Robert A. Bonta in his official capacity as Attorney General for
  3   the State of California, Luis Lopez, in his official capacity as Acting Chief of the
  4   California Department of Justice Bureau of Firearms, and the California
  5   Department of Justice respectfully request that this Court take judicial notice,
  6   pursuant to Federal Rule of Evidence 201(c)(2), of the documents attached to the
  7   accompanying declaration of counsel. These documents are filings in Franklin
  8   Armory, Inc., et al., v. California Department of Justice, et al., Case No.
  9   20STCP01747, currently pending in the Superior Court of the State of California
 10   for the County of Los Angeles.
 11        Federal Rule of Evidence 201(b) provides that a judicially noticed fact must be
 12   one “not subject to reasonable dispute” because it is either (1) generally known
 13   within the territorial jurisdiction of the trial court or (2) capable of accurate and
 14   ready determination by resort to sources whose accuracy cannot readily be
 15   questioned. Fed. R. Evid. 201(b). Courts “may take judicial notice of court filings
 16   and other matters of public record.” Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442
 17   F.3d 741, 746 n.6 (9th Cir. 2006) (granting Defendants’ request to “take judicial
 18   notice of several other pleadings, memoranda, expert reports, etc.” from another
 19   court); see also Javaheri v. Deutsche Mellon Nat’l Asset, LLC, No.
 20   218CV6615ODWFFM, 2019 WL 1516938, at *3 (C.D. Cal. Apr. 8, 2019) (noting
 21   that “proceedings in other courts . . . are subject to judicial notice” and granting
 22   judicial notice of filings from another lawsuit). Accordingly, Defendants
 23   respectfully request that this Court take judicial notice of the exhibits attached to
 24   the accompanying declaration of counsel.
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                                                            Request for Judicial Notice ISO Defendants’
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                                                                      Motion (Case No. 2:21-cv-09018)
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      Dated: January 24, 2022                  Respectfully submitted,
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                                               ROB BONTA
  3                                            Attorney General of California
                                               MARK R. BECKINGTON
  4                                            Supervising Deputy Attorney General
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                                                t
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                                               ROBERT L. MEYERHOFF
  7                                            Deputy Attorney General
                                               Attorneys for Defendants Robert A.
  8                                            Bonta, Luis Lopez, and the California
                                               Department of Justice
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                                                    Request for Judicial Notice ISO Defendants’
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                                                              Motion (Case No. 2:21-cv-09018)
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                               CERTIFICATE OF SERVICE
 Case Name:     Briseno, Endir, et al. v. Robert           No.    2:21-cv-09018
                A. Bonta, et al.

 I hereby certify that on January 24, 2022, I electronically filed the following documents with the
 Clerk of the Court by using the CM/ECF system:
 DEFENDANTS ROBERT A. BONTA, LUIS LOPEZ, AND CALIFORNIA
 DEPARTMENT OF JUSTICE’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
 MOTION TO DISMISS, ABSTAIN FROM HEARING, AND/OR STAY PLAINTIFFS’
 COMPLAINT
 I certify that all participants in the case are registered CM/ECF users and that service will be
 accomplished by the CM/ECF system.
 I declare under penalty of perjury under the laws of the State of California and the United States
 of America the foregoing is true and correct and that this declaration was executed on January
 24, 2022, at Los Angeles, California.



              Stacy McKellar
                 Declarant                                            Signature

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